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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

UNITED STATES OF AMERICA                     )
                                             )
                v.                           ) Criminal No. 1:16CR140
                                             )
PETER ROMAR,                                 ) Hon. Claude M. Hilton
(a/k/a “PIERRE ROMAR”),                      )
                                             )
                Defendant

     DEFENDANT’S MEMORANDUM IN OPPOSITION TO GOVERNMENT REQUEST
         TO CERTIFY CASE AS COMPLEX UNDER THE SPEEDY TRIAL ACT

         Comes now Peter Romar, by counsel, and respectfully submits this Memorandum in

Opposition to the government’s request to certify this case as complex under the Speedy Trial

Act. This case is neither especially complicated nor unusual, and the time conferred by the

Speedy Trial Act is more than sufficient to prepare for trial. Specifically, the indictment alleges

that Mr. Romar committed crimes by receiving and then transferring money from his personal

bank account on two or three occasions. Given the simplicity of the alleged conduct, the Court

should schedule the trial within the 70-day time period provided in the Speedy Trial Act.

I.       The Speedy Trial Act Requires Trial Within 70 days Because the Ends of
         Justice Do Not Support a Continuance Given the Basic Nature of the
         Allegations in the Indictment

         Under the Speedy Trial Act, “the trial of a defendant charged in an information or

indictment . . . shall commence within seventy days from the filing date . . . or from the date the

defendant has appeared before a judicial officer of the court in which such charge is pending,

whichever date last occurs.” 18 U.S.C. § 3161(c)(1). Although the Government seeks to avoid

this ordinary application of the Act, the provision on which it relies applies only where “the ends

of justice served by the granting of such a continuance outweigh the best interests of the public
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and the defendant in a speedy trial.” 18 U.S.C. § 3161(7)(A). Specifically, the Government’s

motion should not be granted unless it can show that a “case is so unusual or so complex, due to

the number of defendants, the nature of the prosecution, or the existence of novel questions of

fact or law, that it is unreasonable to expect adequate preparation for pretrial proceedings or for

the trial itself within the time limits established by this section.” 18 U.S.C. § 3161(7)(B)(ii).

        Notably, “[n]o continuance [under this section] shall be granted because of general

congestion of the court’s calendar, or lack of diligent preparation or failure to obtain available

witnesses on the part of the attorney for the Government. 18 U.S.C. § 3161(7)(C). Indeed, any

continuances under this exception must be “reasonably related to the actual needs of the case,

and should not be used either as a calendar control device or as a means of circumventing the

requirements of the Speedy Trial Act.” See United States v. LoFranco, 818 F.2d 276, 277 (2d

Cir. 1987). Thus, if a case is “not particularly unusual or complex,” a continuance should not be

granted under this exception. See, e.g., United States v. Olajide, 978 F.2d 1257, at *4 (4th Cir.

1992) (unpublished) (noting, in a case involving a multi-victim bank fraud scheme with transfers

of funds both in the United States and in London by an illegal alien from Nigeria living in

Brooklyn, that, despite “international aspects[,] the case [was] not particularly unusual or

complex,” and that it was “possible . . . that the complexity alone did not warrant much, if any

continuance”). 1

        Here, the Government has failed to show that this case is so “particularly unusual or

complex” as to warrant a continuance beyond the Speedy Trial Act. Notably, this is a single-



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  If the Court does grant such a continuance, it must also make “on-the-record findings and
specif[y] in some detail certain factors that a judge must consider in making those findings.” See
Zedner v. United States, 547 U.S. 489, 508-09 (2006) (refusing to apply a harmless error analysis
in order to avoid “a danger that such continuances could get out of hand and subvert the Act’s
detailed scheme”).
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defendant case involving three conspiracy charges based on the Defendant’s minimal role in

another alleged conspirator’s extortion and hacking scheme. Indeed, despite the alleged breadth

of the scheme, the scope of criminal conduct attributed directly to Mr. Romar by the Indictment

appears to be limited to Mr. Romar’s acceptance of payments from three victims on three

disparate occasions and his transferal of the money received to other alleged conspirators in

Syria.

         The major issue in this case will be whether Mr. Romar had knowledge of and intent to

join the conspiracy. Mr. Romar does not anticipate any novel questions of fact or law. In fact,

Mr. Romar’s communications with his alleged conspirators have been in the government’s

custody since at least the Fall of 2015, as evidenced by the date of the Affidavit in Support of the

Criminal Complaint. At bottom, this is a run-of-the-mill conspiracy case that does not warrant

certification as complex or unusual. Cf. United States v. Reavis, 48 F.3d 763, 771 (4th Cir. 1995)

(finding a case complex where it involved “six defendants, eight attorneys, a thirty-three count

indictment, and the possibility of prosecution under a seldom-used federal death penalty

statute”).

II.      The Government’s Proffered Reasons Do Not Support a Continuance

         The Government’s bases for seeking certification do not alter the conclusion that a

continuance is unwarranted. Specifically, the government maintains that this case is complex

because: (1) it seized multiple laptops and telephones; (2) many relevant communications are in

the Arabic language; and (3) the government has identified potentially relevant classified

information. None of these rationales supports extending the trial date in this case.

         First, the government fails to mention that it already obtained email and other

communications between Mr. Romar and his alleged co-conspirators in 2015 from electronic



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service providers, and has already translated relevant portions of those communications. And

while the Government may have obtained custody of multiple laptops and telephones more

recently, the Government has not made any showing that such devices are likely to contain

evidence relevant to this case, or that they contain more communications than those that it

obtained more than 10 months ago. To the contrary, the Government notes only that the

“electronic media is potentially significant since they are the potential vehicles through which

the conspirators communicated.” Gov’t Mot. at 3 (emphasis added).

       Moreover, multiple pieces of electronic media are routinely found in almost every fraud

case. Thus, given that this case appears to involve only a few isolated communications between

Mr. Romar and the other conspirators, and considering that the Government has not proffered

any specific evidence that will likely be found in the electronic media, this factor does not serve

to differentiate this action from the average case. See Zedner, 547 U.S. at 508-09 (noting “the

danger that such continuances could get out of hand and subvert the Act’s detailed scheme”).

       Second, while Mr. Romar may speak multiple languages, so too do defendants in many

fraud cases. And the Government has already identified relevant communications that it

translated prior to the filing of the Criminal Complaint. Gov’t Mot. at 3. It gives no reason why

additional translations cannot be done within the normal trial schedule.

       Finally, while the Government may suggest that classified information still needs to be

reviewed, none of it likely has any specific relation to Mr. Romar, who is alleged to have merely

transferred money in his own name from his own bank account on a few discrete occasions. It

also concedes that a “large portion” of classified material has already been evaluated. Gov’t

Mot. at 3-4. Again, the central issue in this case will be whether Mr. Romar had knowledge and

intent to join the alleged conspiracy. Resolution of that issue will revolve around Mr. Romar’s



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communications and actions, and should not implicate classified material. Merely referencing an

unidentified set of classified information does not make this case complex.

       In short, this is a run-of-the-mill conspiracy case, involving a single defendant and three

counts, that will focus on issues present in almost every conspiracy case. It is not “particularly

unusual or complex,” and both Mr. Romar’s and the public’s interest in a speedy trial is not

outweighed by the need for a continuance. Accordingly, Mr. Romar respectfully requests that

the Court deny any Government request for a trial date beyond 70 days from the issuance of the

indictment.



                                                         Respectfully submitted,

                                                         PETER ROMAR
                                                         By Counsel

                                                         ______/s/_____________________
Dated: June 16, 2016                                     Geremy C. Kamens

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                               CERTIFICATE OF SERVICE

        I hereby certify that on June 16, 2016, I will electronically file the foregoing pleading
with the Clerk of the Court using the CM/ECF system, which will then send a notification of
such filing (NEF) to the following:

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